       Case 1:25-cv-00399-JAV          Document 50        Filed 05/14/25      Page 1 of 22




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 AUBREY DRAKE GRAHAM,

                      Plaintiff,
                                                   Case No. 1:25-cv-00399 (JAV)
                v.

 UMG RECORDINGS, INC.,

                      Defendant.


       JOINT STIPULATION ON THE PROTOCOL FOR DISCOVERY OF
  ELECTRONICALLY-STORED INFORMATION AND HARD COPY DOCUMENTS

       To facilitate the exchange of electronically-stored information (“ESI”), documents, and

hard copy documents pursuant to Fed. R. Civ. P. 26, Plaintiff Aubrey Drake Graham and

Defendant UMG Recordings, Inc. (collectively the “Parties”) in the above-captioned action (the

“Action”), hereby stipulate to the following protocol for discovery of ESI and hardcopy documents

(the “ESI Protocol”).

  I.           COOPERATION

        1.     The Parties commit to cooperate in good faith to comply with the provisions of this

Stipulation and to comply with all applicable rules, including, but not limited to, the Federal Rules

of Civil Procedure.

        2.     To the extent reasonably possible, the production of documents shall be conducted

to maximize efficient and quick access to documents and minimize related discovery costs. The

terms of this ESI Protocol shall be construed so as to ensure the prompt, efficient, proportional,

and cost-effective exchange of information consistent with the Federal Rules of Civil Procedure,

the Local Rules, and any orders by this Court.
       Case 1:25-cv-00399-JAV            Document 50        Filed 05/14/25       Page 2 of 22




        3.       This ESI Protocol shall not enlarge or affect the proper scope of discovery in this

action, nor imply that discovery produced under the terms of this ESI Protocol is properly

discoverable, relevant, or admissible in this or in any other litigation. Additionally, this ESI

Protocol does not alter or expand the preservation obligations of the Parties.

        4.       A party that issues or has issued a nonparty subpoena (“Issuing Party”) shall include

a copy of this ESI Protocol with the subpoena, or send a copy of this ESI Protocol to any person

or entity that was served a nonparty subpoena prior to the execution of this ESI Protocol, and

request that the non-party produce documents in accordance with the specifications set forth

herein. The Issuing Party is responsible for producing any documents obtained pursuant to a

subpoena to all other Parties. Nothing in this ESI Protocol is intended to or should be interpreted

as narrowing, expanding, or otherwise affecting the rights of the Parties or third-parties to object

to a subpoena.

        5.       The Parties acknowledge their duty to work together cooperatively throughout the

discovery process and to use reasonable good faith and proportional efforts to identify and produce

relevant information. Consistent with their obligations under applicable Federal Rules of Civil

Procedure and the Court’s rules and guidelines, the Parties will first attempt to resolve, in person,

by video conference, or by telephone, disputes regarding the issues set forth herein before filing a

motion with the Court, or otherwise seeking relief. If a Producing Party cannot comply with any

material aspect of this ESI Protocol, such Party shall inform the Requesting Party in writing, before

the time of production, as to why compliance with the Order is not possible. No Party may seek

relief from the Court concerning compliance or lack thereof with the Order unless it has first

conferred with other affected Party or Parties. If the Parties are unable to resolve the dispute after



                                                   2
       Case 1:25-cv-00399-JAV            Document 50        Filed 05/14/25      Page 3 of 22




a good faith effort, the Parties may seek Court intervention in accordance with the Court’s

procedures.

        6.        With respect to ESI, the fact that a document is captured by the application of a

search term does not mean that such document is responsive to any propounded discovery request

or otherwise relevant to this Action. The discovery requests, objections thereto, agreements of the

Parties and any Court orders shall govern the scope of documents to be produced. The Parties may

review the documents that are populated by the agreed search terms for each custodian for

responsiveness and privilege. Parties need only produce responsive and non-privileged

documents.

        7.        To the extent compliance with this ESI Protocol imposes an undue burden with

respect to any protocol, source, or search terms listed herein, the Parties shall promptly meet and

confer in an effort to resolve the issue. Nothing in this ESI Protocol shall be deemed to waive or

limit any Party’s right to object to the production of certain Documents, or to move for an

appropriate Order on the grounds that the sources are not reasonably accessible because of undue

burden or cost.

 II.   DEFINITIONS

       The following definitions shall be used in construing the meaning of the ESI Protocol

contained herein:

             a. “Electronic Document(s) or Data” means Documents or Data existing in
                electronic form at the time of collection, including but not limited to: email or other
                electronic communications (e.g., texts or instant messages), mobile phone data
                (e.g., call logs, photos, or app data), communications conducted in ephemeral
                messaging applications (e.g., WhatsApp, Telegram, Signal), word processing files
                (e.g., Microsoft Word or Google Docs), computer presentations (e.g., PowerPoint
                slides), spreadsheets (e.g., Excel), and image files (e.g., GIF, JPEG, PNG).



                                                   3
Case 1:25-cv-00399-JAV         Document 50        Filed 05/14/25     Page 4 of 22




   b. “Electronically-stored Information” or “ESI,” as used herein, refers to computer-
      generated information or data, stored in or on any storage Media, from which
      information can be obtained either directly or, if necessary, after translation into a
      reasonably usable form, including, for example, information or data located on
      computers, mobile phones, file servers, database servers, digital or optical disks,
      tapes, USB drives, or other real or virtualized devices or Media, as such information
      is defined in the Federal Rules of Civil Procedure, including Rule 34(a).

   c. “Extracted Text” refers to the text electronically extracted from a Document and
      includes all header, footer, and Document body information, when reasonably
      available.

   d. “Load File” or “Unitization File” refers to an electronic file containing
      information identifying a set of scanned images or processed ESI and indicating
      where individual pages or files belong together as Documents, including
      attachments, and where each Document begins and ends.

   e. “Media” refers to an object or device, including, but not limited to, a digital or
      optical disc, tape, computer, or other device, irrespective of whether in the
      Producing Party’s physical possession, on which data is or was stored.

   f. “Metadata” means: (i) information embedded in or associated with a native file
      that is not ordinarily viewable or printable from the application that generated,
      edited, or modified such native file which describes the characteristics, origin,
      usage, and/or validity of the electronic file; and/or (ii) information generated
      automatically by the operation of a computer or other information technology
      system when a native file is created, modified, transmitted, deleted, or otherwise
      manipulated by a user of such system.

   g. “Native Format” refers to the format of Electronic Documents and/or ESI in which
      information or data was generated and/or as used by the Producing Party in the
      usual course of its business and in its regularly conducted activities.

   h. “OCR Text” refers to text generated through an optical character recognition
      process.

   i. “Hard Copy Documents” means Documents existing in tangible form, including
      but not limited to paper Documents.

   j. “Parties” refers collectively to Aubrey Drake Graham (“Plaintiff”) and UMG
      Recordings, Inc. (“Defendant”).

      “Party” shall refer to either Plaintiff or Defendant, individually.
   k. “Producing Party” refers to a Party in the above-captioned case from which
      production of ESI or hard copy Documents is sought.
                                         4
       Case 1:25-cv-00399-JAV        Document 50        Filed 05/14/25      Page 5 of 22




          l. “Requesting Party” refers to a Party in the above-captioned case seeking
             production of ESI or hard copy Documents.

III.   NOT REASONABLY ACCESSIBLE DOCUMENTS

          a. Absent an order from the Court upon a showing of good cause, a Party from whom
             ESI has been requested shall not be required to search for responsive ESI from
             sources that are not reasonably accessible without undue burden or cost. In
             particular, the following types of data stores are presumed to be inaccessible and
             are not subject to discovery, and need not be collected or preserved, absent a
             particularized need for the data as established by the facts and legal issues of the
             case:

                  i. On-line access data such as temporary internet files, history, cache, cookies,
                     and the like;
                 ii. Back-up data that is substantially duplicative of data that are more
                     accessible elsewhere;
                iii. Back-up data that would be unduly burdensome and costly to restore while
                     providing minimal substantive value;
                iv. Server, system, or network logs;
                 v. Data remaining from systems no longer in use that is unintelligible on the
                     systems in use;

IV.    PRODUCTION

          a. Deduplication

                  i. General. The Parties shall use reasonable, good-faith efforts to avoid the
                     production of duplicate ESI following industry-standard practices for MD5
                     or SHA-1 hash comparison. Deduplication must be done globally.
                     Deduplication must be applied at a family level.

                 ii. Duplicates.

                         1. To the extent that duplicate Documents (based on MD5 or SHA-1
                            hash values) reside within a Party’s ESI data set, each Party shall
                            endeavor to produce only a single copy of a responsive Document
                            or record. Where any such Documents have attachments, hash
                            values must be identical for the Document-plus-attachment (“family
                            deduplication”).    Loose electronic Documents shall not be
                            compared to email attachments for deduplication.

                         2. For any Custodian determined to have a copy of an email, email
                            family, or loose electronic Document in its collection, said
                                               5
Case 1:25-cv-00399-JAV      Document 50        Filed 05/14/25      Page 6 of 22




                    Custodian value shall be listed in the All Custodians metadata field
                    for every document in the family.

                3. An email that includes content in the BCC or other blind copy field
                   shall not be treated as a duplicate of an email that does not include
                   content in those fields, even if all remaining content in the email is
                   identical.

                4. Hard Copy Documents shall not be eliminated as duplicates of ESI.

        iii. No Manual Deduplication. No Party shall identify and/or eliminate
             electronic duplicates by manual review or any method other than by use of
             the technical comparison using MD5 or SHA-1 hash values as provided
             above.

   b. Email Threads

         i. In order to reduce the volume of entirely duplicative content within email
            threads, the Parties may utilize commercially available “email thread
            suppression” tools. Lesser Included or Lesser Inclusive Emails suppressed
            under this paragraph need not be reflected on the Party’s privilege log, as
            further discussed in paragraph J. 5. below.

         ii. Only the Inclusive Emails in a thread need to be produced. For example, if
             (in a responsive, non-privileged email chain), A emails B, B forwards that
             email to C, who forwards that email to D, only the email from C to D which
             includes the prior emails from A to B and B to C needs to be produced. If
             (in a responsive, non-privileged email chain), A emails B with an
             attachment, B sends to C without the attachment, both the original email
             from A to B with attachment, and the separate email from B to C, should be
             produced.

        iii. Additionally, any emails or Documents which cannot be threaded must be
             reviewed in full with all responsive, non-privileged Documents being
             produced.

   c. Hard Copy Document Production Format

         i. Production. All Hard Copy Documents shall be scanned and produced as
            black-and-white, single page TIFF images (“TIFFs”),and will include, to
            the extent feasible, the following fields in the .DAT text file: BEGBATES,
            ENDBATES, PAGE COUNT, FULLTEXT, and ALL CUSTODIANS.
            Color Hard Copy Documents will be produced in grayscale in TIFF format;
            provided that if an original Hard Copy Document contains color, and the
            color is necessary to understand the meaning or content of the Hard Copy
                                      6
Case 1:25-cv-00399-JAV        Document 50         Filed 05/14/25      Page 7 of 22




             Document, the Parties will accommodate reasonable requests for
             production of such Documents in color to the extent available. Producing
             Hard Copy Documents as specified above does not change their character
             from Hard Copy Documents into ESI.

         ii. Extracted Text. The Producing Party is not required to OCR (Optical
             Character Recognition) hard copy documents. If the Receiving Party
             requests that hard copy documents be OCR’ed, the Receiving Party shall
             bear the cost of such request, unless the Parties agree to split the cost so that
             each has an OCR’ed copy of the documents.

        iii. Unitization. Hard Copy Documents should be logically unitized (i.e.,
             distinct documents shall not be merged into a single record, and single
             documents shall not be split into multiple records). Unitization of a Hard
             Copy Document and any attachments or affixed notes should be maintained
             as it existed when collected by the Producing Party, and unitized Hard Copy
             Documents shall be produced in the order in which they are kept in the usual
             course of business, and with information that identifies the holder (or
             container) structure, to the extent such structure exists and it is reasonable
             to do so. Parties may unitize their Documents using either physical
             unitization (i.e., based on physical binding or organizational elements
             present with the original Hard Copy Documents like staples, clips, and
             binder inserts) or logical unitization (i.e., a manual review to determine
             what logically constitutes a Hard Copy Documents, like page numbers or
             headers). If unitization cannot be reasonably maintained, the original
             unitization should be documented in the data Load File or otherwise
             electronically tracked, if reasonably possible.

        iv. Custodian. The Producing Party will provide the name of the custodian who
            had possession of the Hard Copy Document upon its collection.

   d. ESI Production Format

         i. General. The following provisions shall govern the production format and
            procedure for ESI, subject to the other provisions contained herein.

                 1. Black-and-white, single page TIFFs.

                 2. Delimited Load Files for Documents (.DAT) containing a field with
                    the full path and filename to native and text files along with the
                    metadata fields identified in Exhibit A, to the extent that the fields
                    can be extracted. The Parties are not obligated to manually populate
                    any of the fields in Exhibit A;



                                        7
Case 1:25-cv-00399-JAV      Document 50         Filed 05/14/25    Page 8 of 22




                3. Load files for images (.OPT) containing the Bates number and file
                   path;

                4. Document level .txt files for all Documents containing Extracted
                   Text, or OCR Text if Extracted Text is unavailable, or if the
                   Document has been redacted;

                5. Bates number and Confidentiality designation (if any) on the face of
                   the image;

                6. Compression file styles (e.g., .ZIP) shall be decompressed in a
                    reiterative manner to ensure that, for example, a .ZIP within a .ZIP
                    is decompressed to the lowest possible level of compression,
                    resulting in individual folders and/or files.
         ii. Production of Non-Native ESI.

                1. All hidden text (e.g., tracked changes, hidden columns, comments,
                   notes, markups) will be expanded, extracted, and rendered in the
                   TIFF, including, but not limited to, the inclusion of any notes or
                   comments contained within any PowerPoint slides/presentations
                   that are produced in the TIFF.

        iii. Production of Native Format ESI.

                1. Spreadsheets (e.g., Excel, Lotus, Google Sheets, CSV) and audio or
                   video media files (e.g., .WAV, .MP3, .MP4, .MOV, .WMV,
                   .MPEG), shall be produced in Native Format.

                2. If a Document is produced in native format, a single-page Bates
                   stamped TIFF slipsheet shall be produced, stating the document has
                   been produced in native format and endorsed with the corresponding
                   Bates number and confidentiality designation (if any).

        iv. Request for Documents in Native Format. If production in Native Format
            of any Document(s) initially produced in TIFF is reasonably necessary (e.g.,
            to decipher the complete meaning, context, or content), a Party may request
            production of the original Document in Native Format. The Parties agree
            to meet and confer in good faith with respect to any such request.
            Reasonable requests for specific Documents in Native Format,
            accompanied by a reasonable explanation for the request, shall not be
            refused.

         v. Email Attachments. The Parties shall collect and produce files attached to
            emails. If any part of an email or its attachments is responsive, the entire
            email family, including all attachments, will be produced, except any
                                      8
Case 1:25-cv-00399-JAV      Document 50        Filed 05/14/25      Page 9 of 22




            attachments that may be withheld or redacted on the basis of privilege. The
            Parties shall take reasonable steps to ensure that parent-child relationships
            within a Document family (the association between an attachment and its
            parent document) are preserved. The child Document(s) should be
            consecutively produced immediately after the parent Document. For further
            clarification, this shall not require a Party to produce Documents merely
            referenced in responsive documents; and in the absence of a showing of
            particularized and reasonable need, a Party is not required to produce
            Documents sent via a link within an email. Nothing in this subsection shall
            restrict the Parties’ abilities to provide placeholder images for non-email
            attachments validly withheld in accordance with the terms of this ESI
            Protocol or any operative Protective Order or other Court order.

        vi. Compressed Files Types. Compressed or container file types (e.g., .ZIP,
            .RAR, .CAB, .Z) should be decompressed so that the lowest level document
            or file is extracted. The compressed files themselves need not be produced.

        vii. Embedded Objects. To the extent reasonably possible, images embedded in
             emails and OLE linked files containing duplicative content shall not be
             extracted and produced separately.

       viii. Appearance and Content. Except for Documents containing redactions, no
             Document may be intentionally manipulated to change how the source
             Document would have appeared if printed out to a printer attached to a
             computer viewing the file, without prior agreement of the Requesting Party.

        ix. Color. On a case-by-case basis, the Parties will accommodate reasonable
            requests made in good faith for the production of specific color images
            originally produced in greyscale TIFF format to the extent available and
            where reasonably necessary to decipher the complete meaning, context, or
            content of the Documents.

         x. Production Stamping. Each page of a Document produced as TIFFs shall
            have a legible, unique Bates Number electronically endorsed onto the image
            at a location that does not obliterate, conceal, or interfere with any
            information from the source Document (the “Bates number”). Each file
            produced in Native Format shall be named by the Bates number, with a
            TIFF placeholder containing the same Bates number. Documents produced
            in Native Format may also contain the confidentiality endorsement in the
            file name.

                1. Bates numbering shall be consistent across the production and be
                   numerically sequential. Each Document produced shall be
                   identified with a Bates number, according to the following protocol:

                                      9
Case 1:25-cv-00399-JAV      Document 50        Filed 05/14/25      Page 10 of 22




                        a. The first half of the Bates number shall contain a prefix
                           which clearly identifies the producing Party.

                        b. The second half of the Bates number shall contain nine (9)
                           digits, padded with leading zeroes as needed to preserve its
                           length.

                 2. If a Bates number or set of Bates numbers is skipped, the skipped
                    number(s) should be noted with a placeholder.

                 3. Bates numbers shall be sequential within a family.

         xi. Text Messages. Text messages shall be produced as Color JPEG images
             with EXIF compression, 300 dpi or higher, and 24‐bit color depth.
             Relativity Short Message Format (“RSMF”) Metadata fields as outlined in
             Exhibit A shall be produced, along with Extracted Text. RSMFs shall be
             produced in 24-hour increments.
                1. An RSMF containing both privileged and responsive content is
                    produced with the privileged content redacted; and
                2. All attachments to an RSMF shall be included in the production.

        xii. Family Relationships of Electronic Files.

                 1. Each Party shall preserve and appropriately reflect in a Load File the
                    association between an attachment and its parent Document for ESI.

                 2. A parent email, whether it contains attachments or not, containing
                    both privileged and responsive, non-privileged content shall be
                    produced with the privileged information redacted. Headers (i.e.,
                    From/To/CC/BCC/Date/Time) for all emails in the email chain shall
                    be produced intact.

                 3. Any non-email attachment withheld on the basis of privilege that is
                    an attachment to an email that has been produced shall either (i) be
                    replaced with a Bates-stamped TIFF placeholder identifying the
                    attachment as withheld as privileged; or (ii) be redacted in full and
                    produced with Bates numbers on each page.

        xiii. Production Media. Documents shall be produced via a secure file transfer
              protocol (“SFTP”) site, or such other readily accessible computer or
              electronic Media as the Parties may hereafter agree upon (the “Production
              Media”). Each piece of Production Media shall include a unique identifying
              label and cover letter or email including the following information:

                 1. Name of the litigation and its case number;
                                      10
Case 1:25-cv-00399-JAV     Document 50        Filed 05/14/25      Page 11 of 22




                2. Name of the Producing Party;

                3. Date of the production in MM/DD/YYYY format;

                4. Volume number;

                5. Bates range;

                6. Highest confidentiality designation; and

                7. Notes regarding any irregularities in the production (e.g., whether it
                   is replacement Production Media, as discussed in Section III.c.xiv).

        xiv. Production Media (SFTP Sites).

                   Producing Parties shall produce via a SFTP site or as the Parties may
                   hereafter agree.
                1. Any replacement productions shall cross-reference the original
                   production volume, clearly identify that it is a replacement, and
                   Bates stamp the documents being replaced using the same Bates
                   numbers which shall now contain a _A suffixed Bates number on
                   each reproduced page.

                2. Producing Parties may encrypt their production media and, if so,
                   shall provide a key or password to decrypt the production media in
                   a separate communication transmitted via a different method from
                   that being used to transmit the data itself. For example, if a
                   production is transmitted via SFTP and the SFTP link is sent via
                   email, the decryption key or password may not be sent to the same
                   email address(es) even in a separate transmission. Acceptable
                   alternative methods of transmitting decryption keys or passwords
                   include phone calls, voicemails, and texting.

        xv. Time.

                1. When processing non-email ESI for a TIFF production, the
                   Producing Party will instruct its vendor to turn off any automatic
                   date stamping.

                2. When processing ESI, the time zone that the Producing Party has
                   used to normalize time stamps during processing will be provided
                   in the production metadata.



                                     11
Case 1:25-cv-00399-JAV       Document 50        Filed 05/14/25       Page 12 of 22




                 3. Parties must produce all ESI in the same time zone; the Coordinated
                    Universal Time (“UTC”) is preferred.

                 4. When a metadata field includes a date and/or time, it shall be
                    provided in the following format: MM/DD/YYYY HH:MM:SS.

        xvi. Redactions. To the extent that a responsive Document contains (a)
             privileged content, or (b) the types of personally identifiable information set
             forth in Fed. R. Civ. P. 5.2, the Producing Party may produce that Document
             in a redacted form. Plaintiff may redact his contact information or the
             contact information of any-third party as he deems appropriate. Defendant
             may also redact the personal contact information of any of its directors,
             officers or employees and of any artist or third-party as it deems appropriate.

                 1. Any privilege redactions shall be clearly indicated on the face of the
                    Document with the redaction designation making clear the reason
                    for the redaction (e.g., “Redacted - Privileged”).

                 2. Spreadsheets (e.g., Microsoft Excel, Google Sheets) requiring
                    redactions shall be produced with native redactions.

                 3. Where a Document contains both privileged and non-privileged
                    responsive content, the Producing Party shall redact the privileged
                    material as provided herein and produce the responsive content.

                 4. A Document’s status as redacted does not relieve the producing
                    Party from providing all the metadata required herein unless the
                    metadata withheld contains privileged content; provided, however,
                    that a Party may withhold the following metadata for redacted
                    Documents: Subject, File Name, Attachment Names, All File Path,
                    Title and MD5 Hash/SHA-1.

                 5. All Documents containing a redaction, whether on an image or
                    within a native Document, shall contain a “Yes” value in the
                    Redacted field or Metadata Redacted field as required in the Default
                    Production Fields in Exhibit A.

                 6. The Parties agree to meet and confer in good faith to attempt to
                    resolve any dispute arising under this paragraph.

   e. Search Protocol

          i. The Parties will promptly meet and confer at the commencement of
             discovery regarding the search methodologies the Producing Party proposes
             to employ to identify and collect responsive documents, and make such
                                       12
Case 1:25-cv-00399-JAV       Document 50        Filed 05/14/25      Page 13 of 22




             disclosures regarding their proposed search methodology that will permit
             the receiving party to evaluate the proposed methodology. The parties will
             endeavor in good faith to agree upon a search protocol that includes
             custodians, search terms and other search parameters. If, after a Party has
             made a Document production, the Receiving Party believes that the
             Producing Party failed to identify relevant custodians or other sources of
             ESI, the Parties shall expeditiously meet and confer in good faith to resolve
             whether the Producing Party must collect ESI from the additional
             custodians and/or sources.

         ii. The parties agree that the use of technology (such as active learning) may
             be appropriate and agree to meet and confer, in good faith, to discuss
             methodology, including the use of search terms in conjunction with active
             learning, the use of search terms alone or the use of active learning alone.

         iii. If search terms are used, focused terms and queries should be employed;
              broad terms or queries should be avoided. The parties agree that if search
              terms are used, the methodology using search terms often requires iterative
              refinement. The parties agree to meet and confer regarding such terms.

         iv. The Parties acknowledge that search terms may not be appropriate for
             searching non-custodial information sources and will use appropriate
             alternative means to search those sources.

   f. Use of Technology-Assisted Review

          i. No Party shall use technology-assisted review to cull or limit Documents to
             be reviewed or produced without notifying the opposing Party prior to such
             use and allowing reasonable time to meet and confer in good faith regarding
             a mutually agreeable protocol for the use of such technologies.

   g. Structured Data Format

          i. To the extent a response to a discovery request requires the production of
             ESI contained in a database that cannot reasonably be produced in either
             Excel or .CSV format, the Parties shall meet and confer regarding the format
             of the production (e.g., commercial database, or some other agreed-upon
             format) prior to producing such information. The Parties will consider
             whether all relevant information may be provided by querying the database
             for discoverable information and generating a report in a reasonably usable
             and exportable electronic file. If the structured data exists in a proprietary
             database format, and an exportable electronic file cannot be created in a
             reasonably usable format, the Parties will meet and confer regarding
             utilizing the proprietary software to generate the production in an alternative
             format or other options.
                                       13
      Case 1:25-cv-00399-JAV       Document 50        Filed 05/14/25     Page 14 of 22




V.    DOCUMENT MANAGEMENT

         a. No documents, data or information produced by a Producing Party may be input
            into any public internet search engine or into any public, non-compartmentalized
            generative artificial intelligence (e.g., ChatGPT, Google Bard, etc.) by the
            Receiving Party.

         b. Documents produced in this litigation shall be maintained in a distinct database,
            separate from any other documents, including those produced by a Producing Party
            in a separate litigation. A Receiving Party may not co-mingle confidential
            information with materials from any other litigation or matter. A Receiving Party
            may not use any form of Artificial Intelligence on any confidential information,
            unless the confidential information analyzed is limited to data from a single
            Producing Party that was produced in this litigation. The obligations and
            restrictions of this paragraph apply even where the data or the confidential
            information has been anonymized.

VI.   PRIVILEGE AND REDACTION LOGS

         a. Privileges. Nothing in this Stipulation shall be interpreted as requiring the
            disclosure of documents or ESI that a Party contends are protected by the attorney-
            client privilege, the work-product doctrine, common interest privilege, or any other
            applicable privilege or protection.

         b. Privilege Log. Each Document withheld pursuant to a claim of attorney-client
            privilege or attorney work product protection, or any other applicable privilege or
            immunity, shall be identified in a privilege log pursuant to Rule 26(b)(5) of the
            Federal Rules of Civil Procedure.

                 i. The Parties will meet and confer in good faith to determine whether certain
                    materials are presumptively privileged and need not be logged or may be
                    logged in a manner that reduces the burden on the producing party.

                ii. The Party withholding or redacting any responsive document on the
                    grounds of any privilege or immunity claim shall provide to the other Party
                    a Privilege Log which shall contain the following information for each
                    document withheld:

                        1. Privilege Log Entry Number;
                        2. the date of the email, or if an attachment, the date of the parent
                           email;
                        3. the identity of person(s) who sent, authored, signed or otherwise
                           prepared the document, and if an email, including their email
                           address (e.g., Jane Doe (jdoe@gmail.com);
                                             14
       Case 1:25-cv-00399-JAV       Document 50        Filed 05/14/25       Page 15 of 22




                        4. the identity of all persons designated as recipients, CCs, or BCCs;
                        5. a description of the contents of the document that, without revealing
                           information that is allegedly privileged or protected, is sufficient to
                           understand the subject matter of the document and the basis of the
                           claim of privilege or immunity; and
                        6. the type or nature of the privilege asserted (e.g., attorney-client,
                           work product, common interest, etc.).


                iii. Privilege logs shall be produced no later than 3 weeks after the completion
                     of document discovery.

                iv. On a document-by-document basis, a Party may request additional
                    information about a privilege redaction or withholding.

                 v. Email Strings: For those documents that contain a series of e-mail
                    communications in a single document (“email string”), it shall be sufficient
                    to log the ‘string’ without separate logging of each included
                    communication, but reference to the document as an “email string” should
                    be made in the document description field of the log. Responsive email
                    strings that are not privileged in their entirety should be redacted, the
                    redaction labeled to reflect the nature of the privilege and the non-privileged
                    portions produced.

                vi. Redacted documents need not be logged as long as (a) for emails, the
                    bibliographic information (i.e., to, from, cc, bcc, recipients, date and time)
                    is not redacted, and the reason for the redaction is noted on the face of the
                    document; and (b) for non-email documents, the reason for the redaction is
                    noted on the face of the document. To avoid the burden of producing
                    duplicative emails requiring redaction for privilege, the Producing Party
                    may suppress less inclusive emails and produce only the most inclusive
                    email in the string.

          c. The Parties and all Producing Parties hereby claim the benefits of and agree to be
             bound by Federal Rules of Evidence and any protective order entered in this case.

VII.   MISCELLANEOUS

          a. Variance. Any practice or procedure set forth herein may be varied by agreement
             of the Parties without order of the Court.




                                              15
    Case 1:25-cv-00399-JAV   Document 50      Filed 05/14/25     Page 16 of 22




                                         SO STIPULATED AND AGREED.
Dated: May 14, 2025
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                                    16
    Case 1:25-cv-00399-JAV   Document 50   Filed 05/14/25     Page 17 of 22




SO ORDERED.

Dated:
New York, New York



                                     JEANNETTE A. VARGAS
                                     United States District Judge




                                    17
                        Case 1:25-cv-00399-JAV         Document 50       Filed 05/14/25      Page 18 of 22




                                                           EXHIBIT A


  I.   PRODUCTION FIELDS

       The following metadata fields will be provided for all Documents in the production, to the extent the metadata is extractable
during processing. Specific metadata associated with redacted Documents may be withheld from the production as provided in Paragraph
IV.D and as set forth below.

 Field Name               Example / Format                        Description                             Document     Redacted
                                                                                                          Types        Documents
 BEGBATES                 ABC_00000001 (Unique ID)                The Bates number associated with        All          Yes
                                                                  the first page of a document.
 ENDBATES                 ABC_00000003 (Unique ID)                The Bates number associated with        All          Yes
                                                                  the last page of a document.
 BEGATTACH                ABC_0000001 (Unique ID Parent-          The Bates number associated with        All          Yes
                          Child Relationships)                    the first page of the parent
                                                                  document.
 ENDATTACH                ABC0000008 (Unique ID Parent-           The Bates number associated with        All          Yes
                          Child Relationships)                    the last page of the last attachment.
 VOLUME                   VOL001                                  The name of production volume           All          Yes
                                                                  and/or production media.
 RECORD TYPE              Options: Email, Attachment, Hard        The record type of a document.          All          Yes
                          Copy Document, EDocument
 MASTER (FAMILY)          MM/DD/YYYY                              The date the email, message, or         All          Yes
 DATE                                                             calendar entry was sent or the date
                                                                  the document was created, which
                                                                  date field will be propagated to the
                                                                  full family for purpose of sorting
                                                                  email or document families.


                                                                18
                  Case 1:25-cv-00399-JAV    Document 50    Filed 05/14/25      Page 19 of 22




Field Name         Example / Format                 Description                              Document    Redacted
                                                                                             Types       Documents
MASTER (FAMILY)    HH:MM                            The time the email, message, or          All         Yes
TIME                                                calendar entry was sent or the time
                                                    the document was created, which
                                                    time field will be propagated to the
                                                    full family for the purpose of sorting
                                                    email or document families by time.
SENTDATE           MM/DD/YYYY                       The date the email or calendar entry     Email       Yes
                                                    was sent.
SENTTIME           HH:MM                            The time the email or calendar entry     Email       Yes
                                                    was sent.
RECEIVEDDATE       MM/DD/YYYY                       The date the document was                Email       Yes
                                                    received.
RECEIVEDTIME       HH:MM                            The time the document was                Email       Yes
                                                    received.
CREATEDATE         MM/DD/YYYY                       The date the document was created.       EDocument   Yes
CREATETIME         HH:MM                            The time the document was created.       EDocument   Yes
LASTMODDATE        MM/DD/YYYY                       The date the document was last           EDocument   Yes
                                                    modified.
LASTMODTIME        HH:MM                            The time the document was last           EDocument   Yes
                                                    modified.
AUTHOR             jsmith                           The author of a document from            EDocument   Yes
                                                    extracted metadata.
FROM               Joe Smith <jsmith@email.com>     The display name and email address       Email       Yes
                                                    of the author of an email/calendar
                                                    item. An email address should
                                                    always be provided.
TO                 Joe Smith <jsmith@email.com>;    The display name and email address       Email       Yes
                   tjones@email.com                 of the recipient(s) of an
                                                    email/calendar item. An email

                                                   19
                  Case 1:25-cv-00399-JAV    Document 50    Filed 05/14/25       Page 20 of 22




Field Name         Example / Format                 Description                               Document    Redacted
                                                                                              Types       Documents
                                                    address should always be provided
                                                    for every email if a recipient existed.


CC                                                  The display name and email of the         Email       Yes
                                                    copyee(s) of an email/calendar item.
                                                    An email address should always be
                   Joe Smith <jsmith@email.com>;    provided for every email if a copyee
                   tjones@email.com                 existed.
BCC                                                 The display name and email of the         Email       Yes
                                                    blind copyee(s) of an email or
                                                    calendar item. An email address
                   Joe Smith <jsmith@email.com>;    should always be provided for every
                   tjones@email.com                 email if a blind copyee existed.
SUBJECT                                             The subject line of the                   Email       May be
                                                    email/calendar item.                                  omitted
TITLE                                               The title of the email or document.       Email,      Yes
                                                                                              Edocument
MsgID                                               The Unique Message ID.                    Email       Yes
RSMF THREAD ID                                                                                RSMF        Yes
RSMF BEGIN DATE    MM/DD/YYYY                                                                 RSMF        Yes
RSMF END DATE      MM/DD/YYYY                                                                 RSMF        Yes
RSMF MESSAGE       Numeric                                                                    RSMF        Yes
COUNT
RSMF PARENT        MM/DD/YYYY                       RSMF BEGIN DATE value                     RSMF        Yes
DATE                                                populated for the family.
RSMF               Smith, Joe; Doe, Jane                                                      RSMF        Yes
PARTICIPANTS


                                                   20
                 Case 1:25-cv-00399-JAV         Document 50    Filed 05/14/25     Page 21 of 22




Field Name        Example / Format                      Description                             Document    Redacted
                                                                                                Types       Documents
ALL CUSTODIANS    Smith, Joe; Doe, Jane                 All of the agreed-upon custodians of    All         Yes
                                                        a document from which the
                                                        document originated, separated by
                                                        semicolons.
ATTACHMENT        Numeric                               The number of attachments to a          Email,      Yes
COUNT                                                   document.                               EDocument
ATTACHMENT        Document Name.xls                     The file names of the attachments to    Email,      May be
NAMES                                                   a parnt document                        EDocument   omitted
FILE EXTENSION    XLS                                   The file extension of a document.       Email,      Yes
                                                                                                EDocument
FILE NAME         Document Name.xls                     The file name of a document.            Email,      May be
                                                                                                EDocument   omitted
EMAIL OUTLOOK     email, calendar item, note, task,     Type of Outlook item, e.g. email,       Email       Yes
TYPE              meeting request, message, etc.        calendar item, note, task.
FILE SIZE         Numeric                               The file size of a document.            All         Yes

PAGE COUNT        Numeric                               For documents produced as images,       All         Yes
                                                        the number of pages in the
                                                        document. For documents produced
                                                        as natives, page count will be 1 (for
                                                        placeholder).
HIDDEN CONTENT    Yes or No                             Denotes presence of Tracked             Email,      Yes
                                                        Changes/Hidden Content/Embedded         EDocument
                                                        Objects in item(s).
HASH              Alphanumeric                          The MD5 or SHA-1 Hash value or          Email,      May be
                                                        "de-duplication key" assigned to a      EDocument   omitted
                                                        document. The same hash method
                                                        (MD5 or SHA-1) should be used
                                                        throughout production.

                                                       21
                   Case 1:25-cv-00399-JAV      Document 50       Filed 05/14/25      Page 22 of 22




Field Name           Example / Format                     Description                              Document    Redacted
                                                                                                   Types       Documents
CONFIDENTIALITY Confidential or Highly Confidential       The Confidentiality designation          All         Yes
                or Blank                                  assigned to each document.
REDACTED        Yes or Blank                              If a document contains a redaction,      All         Yes
                                                          this field will display 'Yes'.
METADATA             Yes or Blank                         If any metadata contains a redaction,    All         Yes
REDACTED                                                  this field will display ‘Yes’.
TIMEZONE             PST, CST, EST, etc.                  The time zone where the documents        Email,      Yes
PROCESSED                                                 were located at time of collection.      EDocument
ALL FILE PATHS       \Outlook\Smith, Mary\2025 Account    The path(s) from the location(s) in      Email,      May be
                     Statements                           which the document was stored in         EDocument   omitted
                                                          the ordinary course of business.
NATIVELINK           \NATIVES\ABC000001.xls               The full path to a native copy of a      All         Yes
                                                          document in the production media.
TEXT                 \TEXT\ABC000001.txt                  The path to the full extracted text of   All         Yes
                                                          the document in the production
                                                          media or the OCR’d text if a
                                                          document is redacted.




                                                         22
